            Case 1:15-cv-00687-JEB Document 1 Filed 05/06/15 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,                         )
425 Third Street, S.W., Suite 800             )
Washington, DC 20024,                         )
                                              )
                        Plaintiff,            )
                                              )       Civil Action No.
v.                                            )
                                              )
U.S. DEPARTMENT OF STATE,                     )
The Executive Office                          )
Office of the Legal Adviser, Room 5519        )
2201 C Street, NW                             )
Washington, D.C. 20520,                       )
                                              )
                        Defendant.            )
                                              )

                                          COMPLAINT

       Plaintiff Judicial Watch, Inc. brings this actions against Defendant U.S. Department of

State to compel compliance with the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”). As

grounds therefor, Plaintiff alleges as follows:

                                     JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e).

                                             PARTIES

       3.      Plaintiff Judicial Watch, Inc. is a not-for-profit, educational organization

incorporated under the laws of the District of Columbia and headquartered at 425 Third Street

S.W., Suite 800, Washington, DC 20024. Plaintiff seeks to promote transparency,

accountability, and integrity in government and fidelity to the rule of law. As part of its mission,
            Case 1:15-cv-00687-JEB Document 1 Filed 05/06/15 Page 2 of 4



Plaintiff regularly requests records from federal agencies pursuant to FOIA. Plaintiff analyzes

the responses and disseminates its findings and the requested records to the American public to

inform them about “what their government is up to.”

       4.      Defendant U.S. Department of State is an agency of the United States

Government and is headquartered at 2201 C Street NW, Washington, D.C. 20520. Defendant

has possession, custody, and control of records to which Plaintiff seeks access.

                                   STATEMENT OF FACTS

       5.      On March 4, 2015, Plaintiff submitted a FOIA request to Defendant, by facsimile

and certified mail, seeking access to the following:

       Any and all emails sent or received by former Secretary of State Hillary Rodham
       Clinton in her official capacity as Secretary of State during her tenure as Secretary
       of State.

       The timeframe for this request is February 2, 2009 to January 31, 2013.

       6.      According to Plaintiff’s facsimile transmission report, Defendant received the

FOIA request by facsimile on March 4, 2015 at 1:51 p.m. The U.S. Postal Service provided

Plaintiff a Domestic Return Receipt signed by Defendant’s agent showing that Defendant also

received the request by certified mail on March 16, 2015.

       7.      Defendant subsequently acknowledged receipt of the request and assigned the

request Case Control Number F-2015-05056.

       8.      On March 6, 2015, Plaintiff submitted a second FOIA request to Defendant, by

facsimile and certified mail, seeking access to the following:

               1)      Any and all records concerning, regarding, or relating to
                       the production of 55,000 emails by former Secretary of
                       State Hillary Clinton to the U.S. Department of State.

               2)      Any and all communications between employees of the
                       U.S. Department of State and former Secretary Clinton

                                                 2
              Case 1:15-cv-00687-JEB Document 1 Filed 05/06/15 Page 3 of 4



                        and/or her representatives concerning, regarding, or relating
                        to emails sent or received by former Secretary Clinton on
                        non-“state.gov” email addresses

                 The timeframe for this request is June 1, 2014 to the present.

        9.       According to Plaintiff’s facsimile transmission report, Defendant received the

FOIA request by facsimile on March 6, 2015 at 2:16 p.m. The U.S. Postal Service provided

Plaintiff a Domestic Return Receipt signed by Defendant’s agent showing that Defendant also

received the request by certified mail on March 16, 2015.

        10.      Defendant subsequently acknowledged receipt of the request and assigned the

request Case Control Number F-2015-05048.

        11.      Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), Defendant was required to determine

whether to comply with the request within twenty (20) working days and to notify Plaintiff

immediately of its determination, the reasons therefor, and the right to appeal any adverse

determination.

        12.      Defendant’s determinations regarding Plaintiff’s requests were due by April 13,

2015 at the latest.

        13.      As of the date of this complaint, Defendant has failed to: (i) determine whether to

comply with the requests; (ii) notify Plaintiff of any such determination or the reasons therefor;

(iii) advise Plaintiff of the right to appeal any adverse determinations; or (iv) produce the

requested records or otherwise demonstrate that the requested records are exempt from

production.

        14.      Because Defendant has failed to comply with the time limit set forth in 5 U.S.C. §

552(a)(6)(A), Plaintiff is deemed to have exhausted any and all administrative remedies pursuant

to 5 U.S.C. § 552(a)(6)(C).


                                                  3
             Case 1:15-cv-00687-JEB Document 1 Filed 05/06/15 Page 4 of 4



                                            COUNT 1
                               (Violation of FOIA, 5 U.S.C. § 552)

       15.      Plaintiff realleges paragraphs 1 through 14 as if fully stated herein.

       16.      Defendant is unlawfully withholding records requested by Plaintiff pursuant to 5

U.S.C. § 552.

       17.      Plaintiff is being irreparably harmed by reason of Defendant’s unlawful

withholding of records responsive to Plaintiff’s FOIA requests, and Plaintiff will continue to be

irreparably harmed unless Defendant is compelled to conform its conduct to the requirements of

the law.

       WHEREFORE, Plaintiff respectfully requests that the Court: (1) order Defendant to

conduct a search for any and all responsive records to Plaintiff’s FOIA requests and demonstrate

that it employed search methods reasonably likely to lead to the discovery of records responsive

to Plaintiff’s FOIA requests; (2) order Defendant to produce, by a date certain, any and all non-

exempt records to Plaintiff’s FOIA requests and a Vaughn index of any responsive records

withheld under claim of exemption; (3) enjoin Defendant from continuing to withhold any and

all non-exempt records responsive to Plaintiff’s FOIA requests; (4) grant Plaintiff an award of

attorneys’ fees and other litigation costs reasonably incurred in this action pursuant to 5 U.S.C. §

552(a)(4)(E); and (5) grant Plaintiff such other relief as the Court deems just and proper.

Dated: May 6, 2015                                     Respectfully submitted,

                                                        /s/ Chris Fedeli
                                                       Chris Fedeli
                                                       DC Bar No. 472919
                                                       JUDICIAL WATCH, INC.
                                                       425 Third Street, S.W., Suite 800
                                                       Washington, DC 20024
                                                       Tel: (202) 646-5172
                                                       cfedeli@judicialwatch.org
                                                       Attorney for Plaintiff

                                                  4
